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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            LYNCHBURG DIVISION


                                                          Action No: 6:21CV00055
   Walter Scott Lamb                                      Date: July 27, 2022
                                                          Judge: Norman K. Moon
   vs.
                                                          Court Reporter: Lisa Blair
   Liberty University, Inc.                               Deputy Clerk: Arlene Little /
                                                          Carmen Amos



   Plaintiff Attorney(s)                           Defendant Attorney(s)
   Ian A. Northon                                  Heidi E. Siegmund
   Thomas H. Roberts                               Scott C. Oostdyk



                                       LIST OF WITNESSES

   PLAINTIFF/GOVERNMENT:                           DEFENDANT:
   1.                                              1. J. Christopher Racich, Expert
                                                   2. Walter Scott Lamb



  PROCEEDINGS:
  Parties present in-person for Evidentiary Hearing on Defendant and Counterclaim Plaintiff
  Liberty University, Inc.’s Motion for Sanctions (Dkt. 84).

  Arguments heard; evidence entered.

  Court adjourned at 5:04 and will resume at 9:30 a.m. tomorrow morning.




  Time in Court: 9:33am–10:59am; 11:09am-12:30pm; 12:33pm-12:59pm; 3:30pm-5:04pm = 4
  hrs, 38 mins.
